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EXHIBIT A

Form of Order

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W. R. GRACE & CO., et al.,! ) Case No. 01-01139 (AMC)
) (Jointly Administered)
Reorganized Debtors. )
) Re docket no.
) Hearing Agenda item no.

ORDER AUTHORIZING THE ELIMINATION OF THE EXISTING 2014 SERVICE
LIST AND THE CREATION OF A NEW SERVICE LIST

Upon consideration of the Reorganized Debtor’s Motion for an Order Authorizing the
Elimination of the Existing 2014 Service List and the Creation of a New Service List (the
“Motion”), it appearing that the relief requested is in the best interests of the Reorganized Debtors,
their estates, their creditors and other parties-in-interest; the Court having jurisdiction to consider
the Motion and the relief requested therein pursuant to Plan Art. X, 28 U.S.C. §§ 157 and 1334,
and the Amended Standing Order of Reference from the United States District Court for the
District of Delaware, dated February 29, 2012; consideration of the Motion and the relief requested
therein being a core proceeding pursuant to 28 U.S.C. § 157(b), and that this Court may enter an
order consistent with Article ILI of the United States Constitution; venue being proper before the
Court pursuant to 28 U.S.C. §§ 1408 and 1409; notice of the Motion having been adequate and
appropriate under the circumstances; and after due deliberation and sufficient cause appearing
therefor, it is hereby ORDERED that:

1. The Motion is granted in its entirety.

1 W.R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc., or “Grace”) is the sole remaining Reorganized Debtor
and Case no. 01-1139 is the sole remaining open chapter 11 case.

2 Capitalized terms not defined herein shall have the meaning ascribed to them in the Plan or Motion, as the case
may be.

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As of thirty (30) days after the date that this Order is entered, the existing list of parties
who have filed notices of appearance pursuant to Fed. R. Bankr. P. 2002 requesting service
of pleadings, orders and other materials filed on the docket in the above-captioned chapter

11 cases (the “2014 Service List”) shall no longer be used for such notice.

The Reorganized Debtors shall establish and maintain a new list of parties who shall
receive notice of pleadings, orders and other materials filed on the docket in the above-

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captioned chapter 11 cases (the “New Service List”), and on and after the thirtieth day after

entry of this Order, they shall serve notice of pleadings, orders and other materials filed on
the docket in the above-captioned chapter 11 cases on the New Service List.
The New Service List shall comprise:

e Counsel for the Reorganized Debtors;

e The United States Trustee;

e Counsel for the WRG Asbestos PI Trust;

e Counsel for the Asbestos PI Future Claimants Representative;

e Counsel for the Asbestos PD Futures Claimants Representative;

e Counsel for the WRG Asbestos PD Trust (7A);

e Counsel for the WRG Asbestos PD Trust (7B); and

e Those parties who, on or after the date of entry of this Order, file new notices pursuant
to Fed. R. Bankr. P. 2002 and Del. Bankr. L. R. 2002-1(d), requesting inclusion on the
New Service List.

The Reorganized Debtors shall serve notice substantially in the form attached hereto as

Exhibit I on the 2014 Service List within two (2) business days of the date this Order was

entered.

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6. Parties wishing to be included on the New Service List must file on the docket on or after

the date hereof a new notice of appearance and request for papers under Fed. R. Bankr. P.

2002 and Del. Bankr. L. R. 2002-1(d).

7. The Reorganized Debtors are authorized to take all actions that may be necessary to

undertake the elimination of the 2014 Service List and the implementation of the New

Service List.

Notice of the Motion as provided therein shall be deemed good and sufficient notice of

such motion and the requirements of Fed. R. Bankr. P. 6004(a) and the local rules of the

Court are satisfied by such notice.

9. The Court shall retain jurisdiction to hear and determine all matters arising from or relating
to the implementation of this Order, the elimination of the 2014 Service List, and the
creation of the New Service List, including but not limited to further revisions thereof.

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11. This Order shall be effective and enforceable immediately upon entry and its provisions
shall be self-executing and shall not be stayed under Fed. R. Bankr. P. 7062 or otherwise.

Dated: , 2019

Honorable Ashely M. Chan
United States Bankruptcy Judge

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EXHIBIT I

Form of Notice of New Service List

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al.,! ) Case No. 01-01139 (AMC)
) (Jointly Administered)
Reorganized Debtors. )
)

NOTICE OF THE ELIMINATION OF THE EXISTING 2014 SERVICE LIST AND THE
CREATION OF A NEW SERVICE LIST

To: All Parties on the Existing 2014 2002 Service List:

PLEASE TAKE FURTHER NOTICE THAT, on November [], 2019, the Court in the above-
captioned cases entered its Order Authorizing the Elimination of the Existing 2014 Service List and the
Creation of a New Service List (the “Order”) [Docket no, |.

PLEASE TAKE FURTHER NOTICE THAT, the Order eliminates the 2014 Service List, which
comprises all parties who have filed notices of appearance in the above-captioned chapter 11 cases pursuant
to Fed. R. Bankr, P. 2002, requesting service of pleadings, orders and other materials filed on the docket in
the above-captioned chapter 11 cases.

PLEASE TAKE FURTHER NOTICE THAT you are receiving this Notice of the Elimination
of the Existing 2014 Service List and the Creation of a New Service List, because you are on the 2014
Service List.

PLEASE TAKE FURTHER NOTICE THAT, on December [_], 2019 (the “Deadline”), which
is thirty (30) days after the date of entry of the Order, parties on the 2014 Service List will no longer receive
routine notice of pleadings, orders and other materials filed on the docket in the above-captioned chapter
11 cases. Only parties on the New Service List will receive such notice.

PLEASE TAKE FURTHER NOTICE THAT, if you wish to continue receiving notice of all
pleadings, orders and other materials in the above-captioned cases pursuant to Fed. R. Bankr. P. 2002
and Del. Bankr. L. R. 2002-1, you must appear on the New Service List.

PLEASE TAKE FURTHER NOTICE THAT, the New Service List comprises:

e Counsel for the Reorganized Debtors;

e The United States Trustee;

e Counsel for the WRG Asbestos PI Trust;

1 W.R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc., or “Grace”) is the sole remaining Reorganized Debtor
and Case no. 01-1139 is the sole remaining open chapter 11 case.

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e Counsel for the Asbestos PI Future Claimants Representative;

e Counsel for the Asbestos PD Futures Claimants Representative;
e Counsel for the WRG Asbestos PD Trust (7A);

e Counsel for the WRG Asbestos PD Trust (7B);

e Counsel for the CDN ZAI PD Claims Fund; and

e Those parties who, on or after the date of entry of the Order, file new notices pursuant to Fed.
R. Bankr. P. 2002 and Del. Bankr. L. R. 2002-1(d), requesting inclusion on the New Service
List.

PLEASE TAKE FURTHER NOTICE THAT, if you wish to be included on the New Service
List, you must file on the docket on or after the date hereof a new entry of appearance and request for notice
pursuant to Fed. R. Bankr. P, 2002 and Del. Bankr. L. R. 2002-1(d).

PLEASE TAKE FURTHER NOTICE THAT, IF YOU DO_NQT FILE A NEW ENTRY OF
APPEARANCE AND REQUEST FOR NOTICE PURSUANT TO FED. R. BANKR. P. 2002 AND DEL.

BANKER. L. R. 2002-1(D) PRIOR TO. THE DEADLINE, YOU $WILL NOT BE INCLUDED ON THE
NEW SERVICE LIST, AND YOU WILL NOT BE SERVED MATERIALS THAT ARE FILED IN THE

ABOVE-CAPTIONED CASES UNLESS THEY DIRECTLY AFFECT YOUR INTERESTS.

PLEASE TAKE FURTHER NOTICE THAT, if you file new notice after the deadline, you will be
included on the new service list as of the date of entry of such notice on the docket.

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